19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 1 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 2 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 3 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 4 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 5 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 6 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 7 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 8 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 9 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 10 of 11
19-40978-mbm   Doc 16-4   Filed 02/14/19   Entered 02/14/19 10:58:41   Page 11 of 11
